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June 23, 2023

CLERK, U.S. DISTRICT COURT

UNITED STATES DISTRICT COURT _ westernoistrict oF TEXAS
WESTERN DISTRICT OF TEXAS | =3y. Jennifer Clark

 

WACO DIVISION DEPUTY
ECOFACTOR, INC. §
VS. : NO: WA:21-CV-00428-ADA
ECOBEE, INC., ECOBEE, INC., :

ECOFACTOR, INC.

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ALAN D ALBRIGHT
JUDGE

UNITED STATES DISTRIC
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June 19,1013

DATE and TIME

 

 

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